                                                                                                        :    .




   Case: 5:13-cv-00005-DLB DocF)’)
                              #: 1-1 Filed: 01/04/13 Page: 1 of 9 - Page ID#: 5
                                                                       --




TTT   T          rTTrT
                  ,rLYL’-’
n iu, ovn vezau anu on                                     benail 01 oineis simuiaiiv                   SliUdieu




±ivb\.LUf’LJ lvi.                                          LL..                                                                                          iLl’ L1I Ai I

                     -

                                                           t’.’r                       TT’,r     crtri             (“,/(t1
                                                                                                                                    f1•.’
‘_!“‘__   ‘___             I_t_               4   !!\1’4’._,’_’!                        !!‘4\4    }!-!““           ‘.‘‘“43                   4


          i)i AJ                  MA\iSiki-i-i

                     -                              -     i-
                                                                                                                              I’TES      .   NLMA F. LYNCH, CLEFIKt
          £ILU            va Kentucky                           Secretxv 01 State
          u(in                                0    s              -Li                                                                        EC 1 3 2012
                                                                                                                                         (E’F CI C       r   ERK
LiD1r1 i.          i’vlU I Jt-L ji’oJu1 1i.C.                                                                            IBY                                 DEP1J

          rjr-             TA 1’                           1   “e’r,
                                                                 7
                                                                     rrr .4, -rTT.Tr
                                                                 1Fr?ft\.tt!!,!t                  ‘t
                                                                                                            i1fr
                                                                                                       4’,Vj’   !‘
                                                                                                                   :4,
                                                                                                                     ‘t!V!I
                                                                                                                             •Tr)    “
                                                                                                                                    tIS!!


          4”rl          A1rcrn 1K A T1T                        cmnr?r?m
          F4        4    4F”T”4T’fl




                                  :1          -            -      -‘             r-t

          P’rsnant                        fn       K1—• 42.2IU

          i     “-‘,               3,-,---,       ._s.’
                                                  1



A Liac..irc c.ororiton Witfl Its riflZina1                                                       Djt4..-    0 .)tISifl(SS Ifl CittiC, VaSIflIt0fl


Dci’Vu. ,U1iLfl’ji iJj’4                                               1di        Ui’iiU’ I
              41J’,_,_    4.-14        .11_I      iLii_,J         4.3k1    .ii_”JZ

                         4,-flAT .4,                      IA! A    0i41




 UI   I L)-U±-S .i -.t.. .uknowit oincers.                                             f1      !.f;e..             idL       (of ooahn1L-. 0 0i1CQfS.
 ‘nrI                                   JIcZ’ ‘[L.)i’ .Ns.                      fk’ 1
                                                                                    9E
                                                                                    t S                ir ,isj1’




                                                                                                       31.1J33’€     4’.3!



                            .JviA7-.CUiv1,k’i J)CLL(. (e                                                           rai.Qn                        j5jj.
                  TT\J(                 --          -i-- “T               ---
                                                                                ”
                                                                                T  N
                                                                                “AtO—!




                                                                                                                                                                              1   L/
                                                                                                                                                                                  47
                                                                                                                                                                                  /‘)
                                                                                                                                                                                   ‘




                                                                                                                                                                      ry’V’
   Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 2 of 9 - Page ID#: 6




                                  I. INTRODUCTION

      1. Plaintiff was employed by Defendant Amazon as a Tier 1 associate from
February 2008 until his unlawful discharge in July, 2011.

       2. In January, 2011 Plaintiff informed a human resources professional at
Amazon, Vince Woodward, that he was working and had been working for some time
with a great deal of pain in his feet and ankles.

      3. In March, 2011 Plaintiff saw a Lexington Podiatrist, Dr. Nicole Freels and was
diagnosed with arthritis of the feet and ankles.

      4. Shortly thereafter, Plaintiff advised the human resources department of his
diagnosis and was told that he could receive no accommodation at work without
providing a Request for Medical Information form, completed by his doctor to Amazon

        5. Dr. Freels completed the Request for Medical Information form, which called
for a 50% reduction in work done standing until pain subsided.

        6. Plaintiff continued to work his scheduled shifts for approximately one week
with no accommodation from Amazon while wearing the ankle braces supplied by Dr.
Freels.

       7. After lunch one day, Plaintiff’s manager Jason Thomas found Plaintiff
working and conveyed to him verbally that Amazon could not have him in the building
due to liability concerns, that they could not accommodate his disability, and that he
must leave and that the Leave of Absence Team would contact him; he was not to
return to work.

       8. The Leave of Absence team shortly thereafter provided Plaintiff with a
completed leave request form and instructions to file a claim with the short term
disability insurance company, Liberty Mutual.

     9. Plaintiff was placed on leave for approximately two months and received one
month of disability benefits.

        10. Plaintiff was then informed that he would be accommodated by working half
shifts, the other half of his shifts to be covered by intermittent leave.

      11. During June, 2011 Plaintiff’s manager Jason Thomas again found Plaintiff
while working and informed him that management must decide what the status of his
progressive performance discipline was and would apprise him of their decision. While
   Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 3 of 9 - Page ID#: 7




working earlier that year, Plaintiff had received warnings for production and those
warnings expire after 90 days. The question for management to decide was had the 90
days run while Shulman was out on the leave which he had not requested in any way
but to sign the form provided to him.

       12. Plaintiff informed Thomas that his pain had not subsided and that he had
learned from other arthritis patients that a short time not standing every hour brought
them the most relief from pain. At this point Plaintiff was working one session of two
and a quarter and one session of two and a half hours each work night. Also, in order
to reach the break area between these sessions, a walk of varying distance was always
required. Plaintiff estimates that the walk averaged two minutes each way and that time
was included in the allotted break of 15 minutes or in the case of extreme heat, 20
minutes.

       13. Thomas informed Plaintiff that human resources must be involved in any
additional accommodations; he could not act on his own.

       14. Shortly thereafter, Plaintiff informed human resources that he needed the
additional or alternate accommodation of a short time off of his feet every hour and was
advised to get a new Request for Medical Information form from a doctor.

       15. Plaintiff planned to contact Dr. Freels in the near future, but his employment
was terminated in July, 2011, by Amazon, who cited his production performance during
the week that his manager had interrupted his work to have the conversation recounted
in paragraphs 11-13 of this complaint.

                                      II. PARTIES

      16. Plaintiff Julian Shulman is an adult male resident of Taycheedah, Wisconsin,
formerly an employee of Amazon and formerly a resident of Lexington, Kentucky.

      17. Defendant Amazon operates a large warehouse at 1850 Mercer Road in
Lexington, Kentucky where hundreds of employees work.

      18. Defendant Liberty Mutual is an insurance company that administers benefits
for Amazon.

                          III. JURISDICTION AND VENUE

      19. This Court has jurisdiction over the Plaintiff’s claims as they arise under
Kentucky Statutes, Kentucky common law and United States Law. The Defendants
have designated CSC-Lawyers Incorporating Service Company as its registered agent
authorized to accept service of process in the Commonwealth of Kentucky with the
   Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 4 of 9 - Page ID#: 8



Kentucky Secretary of State. Therefore, pursuant to KRS 454.210, service of process may
be made upon CSC- CSC-Lawyers Incorporating Service Company directly, and via the
Kentucky Secretary of State.

       20. Plaintiff voluntarily submits to the in personam jurisdiction of this court in
this matter. This court has in personam jurisdiction over the Defendants as they are
involved in substantial, not isolated activities in the Commonwealth of Kentucky.

       21. Venue is proper in Fayette County, Kentucky pursuant to KRS 452.460 as the
injuries to Plaintiff occurred there and pursuant to 367.190(1) because the unlawful acts
methods, acts, and/or practices of the Defendant were committed and/or felt in Fayette
County, Kentucky.


                                       III. CLAIMS

                                       Count I
                            Americans With Disabilities Act
                                   KRS 344.040(1) (a)
                            Implied Contract of Employment

       22. Plaintiff hereby incorporates by reference paragraphs 1-21.
       23. Plaintiff is authorized to pursue this action pursuant to KRS 344.450
       24. Defendant Amazon’s termination of plaintiff Shulman’s employment is in
rjolatjon of the Americans With Disabilities Act and KRS 344.040(1)(a) and breached an
implied contract of continued employment.
       25. The unknown defendants may be jointly or separately liable for this
unlawful and wrongful termination.
                                          Count II
               EMPLOYMENT RETIREMENT INCOME SECURITY ACT

       26. Plaintiff hereby incorporates by reference paragraphs 1-25.
       27. Defendant Liberty Mutual’s failure to pay short and/or long term disability
benefits to Plaintiff Shulman are in violation of the Employment Retirement Income
Security Act and possibly other laws of the United States and/or the Commonwealth of
Kentucky.


                                    1111. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Julian Shulman, prays for the following relief,
   Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 5 of 9 - Page ID#: 9


        1. Judgment that the Defendants committed willful violations of the American
with   Disabilities Act;

       2. judgment that the Defendants committed willful violations of the Kentucky
Civil Rights Act;

       3. Permanently enjoining the Defendants and their employees, officers, directors,
agents, successors, assigns, affiliates, merged or acquired predecessors, parent or
controlling entities, subsidiaries, and any and all persons acting in concert or
participation with Defendants, from their unlawful conduct, acts and practices;

        4. Awarding the Plaintiff all damages and penalties as allowed by law;

        5. Trial by jury on all issues so triable;

      6. Awarding any other relief which to which the Plaintiff is entitled and Court
deems appropriate and just.




                                                       Respectfully submitted,




                                                     3
                                                     u
                                                     7 lian Shulman
                                                       Pro se
                                                       W 4224 Kiekhacfcr Pkwv.
                                                       Taycheedah, Wisconsin
                                                         —


                                                       Telephone: 779-423-4560
                                                                                                                                                    ____

                                                                                              Generated:
                          Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 6 of 9 - Page ID#: 10                                                12/13/2012
  AOC-S-105              Sum Code: CI                                                                                   Case Number   12-CI-05445
  Rev. 7-99
                                                                                                                               Court Cl
  Commonwealth of Kentucky                                                                                                    County FAYETTE
  Court of Justice
  CR 4.02; Cr Official Form I
                                                                                            Civil Summons
 PIan1ff SHULMAN, JULIAN                                VS. AMAZON.COM KYDC LLC,                 ,   FT AL, Defendant


          AMAZON.COM KYDC LLC,
          421 W. MAIN ST.
          FRANKFORT                                                      KY         40601

The Commonwealth of Kentucky to the above-named Defendant(s):

You are hereby notified that a legal action has been filed against you in this court demanding
                                                                                               relief as shown on the document
delivered to you with summons. Unless a written defense is made by you or by an attorney
                                                                                             on your behalf within twenty (20) days
following the day this paper is delivered to you, judgement by default may be taken against
                                                                                             you for the relief demanded in the
attached complaint.

The name(s) and address(es) of the party or parties demanding such relief against you
                                                                                      or his/her (their) attorney(s) are shown on
the document delivered to you with this summons.




                                                                                                                  Circuit/District Clerk, WILMA LYNCH

                                                                                                           By                                                 DC
                                                                          /1                                                                              ,



                                                                                                           Date: 12/13/2012

                                                           Proof of Service
        This Summons was served by delivering a true copy and the Complaint (or other initiating
                                                                                                 document)
         To:
        Not Served because:
Date:
                                                                                                                        Served by




CI  12-CI-05445
SHULMAN. JULIAN VS. AMAZON.COM KYDC LLC,                                       ,   ET AL


IIII Hit itil Hiti Hit Hililt Hit Il HuHultil iHI ItiH itilt lilt tilt
                     Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 7 of 9 - Page ID#: 11
                                                                                         Generated:                                                             12/13/2012
  AOC-S-105         Sum Code: Cl
  Rev. 7-99
                                                                                                                          Case Number    12-CI-05445
                                                                                                                                 Court   CI
  Commonwealth of Kentucky                                                                                                       County FAYETTE
  Court of Justice
  CR 4.02; Cr Official Form 1
                                                                                    Civil Summons
 PIantff SHULMAN, JULIAN                    VS. AMAZON.COM KYDC LLC,                         ,       ET AL,   Defendant


          AMAZON.COM,            INC.,
          CORPORATION SERVICE COMPANY
          300 DESCHUTES WAY STE. 304
          OLYMPIA                                         WA        98501


The Commonwealth of Kentucky to the above-named Defendant(s):

You are hereby notified that a legal action has been filed against you in this court demanding
                                                                                                 relief as shown on the document
delivered to you with summons. Unless a written defense is made by you or by an attorney
                                                                                              on your behalf within twenty (20) days
following the day this paper is delivered to you, judgement by default may be taken
                                                                                       against you for the relief demanded in the
attached complaint.

The name(s) and address(es) of the party or parties demanding such relief against you
                                                                                      or his/her (their) attorney(s) are shown on
the document delivered to you with this summons.




                                                                                                                     Circuit/District Clerk,      WILMA LYNCH

                                                                                                                                                                   DC

                                                                                                              Date: 12/13/2012


                                                         Proof of Service
      This Summons was served by delivering a true copy and the Complaint (or other initiating
                                                                                               document)
       To:                                                                               .




I J Not     Srul      beLau’..    —   —
                                                                                                        —     —   —              —
                                                                                                                                                        —




r    ,.
                                                          .,-..
                                                                                    .
                                                                            •   •       •.       -                           -
                                                                                                                                              •




                                                                                                                          Served by




Cl  12-C1-05445
SHULMAN, JULIAN VS. AMAZON.COM KYDC LLC,                       ,   ET AL


IIIIII IIINII l I l hIII 1 1 1 1 HuHIIIlUl IlH llIIU Il
                     Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 8 of 9 - Page ID#:
                                                                                          Genera ted:12                              12/13/2012
   AOC-S-105         Sum Code: CI
                                                                                                    Case Number   12-CI-05445
   Rev. 7-99
                                                                                                          Court CI
   Commonwealth of Kentucky                                                                               County FAYETTE
   Court of Justice
   CR 4.02; Cr Official Form 1
                                                                        Civil Summons
 Plantiff SHULMAN, JULIAN VS. AMAZON.COM KYDC LLC,                           ,   ET AL, Defendant

         LIBERTY MUTUAL GROUP, INC.,
         CSC LAWYERS INC. SERVICE CO.
         421 W. MAIN ST.
         FRANKFORT                  KY                          40601

 The Commonwealth of Kentucky to the above-named Defendant(s):

You are hereby notified that a legal action has been filed against you in this
                                                                               court demanding relief as shown on the document
delivered to you with summons. Unless a written defense is made by you or
                                                                               by an attorney on your behalf within twenty (20) days
following the day this paper is delivered to you, judgement by default may
                                                                              be taken against you for the relief demanded in the
attached complaint.

The name(s) and address(es) of the party or parties demanding such relief agains
                                                                                 t you or his/her (their) attorney(s) are shown on
the document delivered to you with this summons.




                                                                                              Circuit/District Clerk, WILMA LYNCH

                                                                                       By           1
                                                                                                    J1
                                                                                                    /  flt
                                                                                                         ) L/y                           DC
                                                                                       Date: 12/13/2012


    J   This Summons was ser


        Not Served because:                  ——




 Date:                             2
                                                                                                                                ,-•1,.




CI  12-CI-05445
SHULMAN. JULIAN VS. AMAZON.COM KYDC LLC,                   ,   ET AL

I1IIHIIIllII1IIIIIII llI 1 1 1 1 1 IIII11 1 [IIIIIIIG II
                               •        ..               -•                                 Commonwealth of Kentucky
                                                                                                                   -.                                                                                                                                                                                                                 __.-_
                                                                                                 Fayette County
                                                                                                Wilma F Lynch                                                                                                                                                                                                                                                                           CD
                                                                                               Circuit Court Clerk
                                                                             -.                                                            -                                                                                       .--                                              •-••..:••.



                                                                                                                                                                                                                                                                                                                                                                                        Fr
                                                                                                                                                                       -                                  -        -                           -
                                    Receipt Number: XX-XXXXXXX-A                                                                                                                                                                                                                                                                               -.: :--.
                                    DATE 12I1I2O12
                                                                                                                    .        .
                                                                                                                                                                                                                                                                                                 -           :.-.
                                                                                                                                                                                                                                   .
                                    TIME; 03:20 PM.                                                                                                                                                                                                                                                                                   :;-
     Fr                    -.                                                               :--                                                                                                                                                                             .:--:-..
     CD                    - ***                                                                                                                                                                                                                                                                                                                                 O
                                                     (11) 1
                                                          CmCU
                                                          - FJLIN
                                                                ITCw1
                                                                  G/pRo
                                                                      L SE                                                                                                                                             ***                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                            -    0
                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                -                                                                                                               CD
     1                                                                                                                   -
                                   CASE NO: 12-CI-05445                                                                                                                                     --                                                                                               -
                                                                                                                                               -           -                                                  .:       -                           -                                                                              -
                                                                                                                                                                                                                                                                                                                                                                 C
                                                                                                                                                                                                                                                                                                                                                                 —

                                   .1NCEIVEDFROM. JULIAN-SHULMAN MONEY CR)
                                                                                                                                                                                                                                                                                                                                                                 Fr
                           -       ACCOUNT OF:. SHULMAN V AMAZON •-. ---.•
                                                                           .                                                                                                                                                                                                                                      ...
                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                ID
  NJ
                                                                                                                                                                                                                                                                                                                                                                Q-f
                                                                                                                                                                                                                                                                                                                                                                                CD
                                        1                    Civil Filing Fee                                      (Q)                                                                                                                                                                   115 00                                                                  CD             0
                                        2                ATJFee(1)                                                                                                                                                                                                                               2000
                                                                                                                                                                                                                                                                                                                                                                r—i
                                   .3.                   Court Technology MCF.O(K(CT))-                                                                                                                                                                                              .           10.00                                                  -

                                        4                Court Facilities Fee U)                                                                                                                                                                                     25 00                                                                                                                             1<
                  -
                          -.            5.               Library1ee(L)                                                       ..                                                         -                                                                       --..;-:1.00                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                  CD
                                    6                    Jury Demand /12 CS(W(M))                                                                                                                                                                                                            6000
                                                             -           .                                                   -        --               .
                                                                                                                                                                                                                               -.      .
                                                                                                                                                                                                                                                                        .                        .-               .       .
                                                                                                                                                                                                                                                                                                                                                                                                       CD
                                                                                                                                                                                                                                                                                                                              .                                 I.              ‘C     CD    ()
                                                                                                                                                                                                                                                                                                                                                .
                                                         .       -                                                                                                             :.                                                                                                                                                                               NJ    (f)              -I
                          -.       -.                                                                  TOTAL:                                                                                                                  •                                            $231.00                                                                                                    CD
 Fr                   -                                                                                                               .                        .                                 -                         •:•                                 -.---.----                                                                                       NJ
                                                                                                                                                                                                                                                                                                                                                                                                       0
                                                                                   .
 CD                                                                                                                               --
                                                                                                                                                                                                                                                                                                                                                                                Z
                                                                                                                                                                                                 --:.:--                                                                                                                      :.-.                                                                —
                                                                                                                                                                                                              -.

                                                                                                      CHECK:.                                      -                                                                                                           -$231.00                                                           -

                                                                                                                                                                                                                                                                                                     -                                              •
                                                                                                                                                                                                                                                                                                                                                                                                  3
 NJ                                                                                                                                                                                                                                                                                                                                                                                               CD
                                                                                                                                                                                                                                                                                                                                                                                      CD,
                                                                                              -       **9jJp:                                                                                        -.                                                                                                                                        .---
                                                                                                                                                                                                                                                                                                     0.00-..
 •-1
                                   .-                            ..•                                       .                                                               .                                                                           .
                                                                                                                                                                                                                                                                                                                          .-


                                                     -   ***CheckNumbei.:6910304389                                                                                                                                                                        ..                                            .    -
                                                                                                                                                                                                                                                                                                                      .       -..f
                                                                                                                                                                                                                                                                                                                                                                                      3           CD
                                                                                                                                                                                •                                                                                           -                                              .--.

                                                                                                                        -.-
                                        ::-----•-                                                                                                                                                                                              -.-.-.--.::--
                                                                                                                                                                                                                                                                                                                                                                                             m

                                                                                       ..
                                                                                                                                                                   -
                                                                     =        .•                                                                   -.

                                                                                                                                                                                                                                                                                                                                                                      NJ
                                                                                            ---

                                                                                                                                  -                                                                                                                                                 --:--
                                                                                                                                                                                                                                                                                                                                                                      NJ             IN)
                                                                                                                                                                                                                                                                                                                                                                                     II
                                                                                                                                                                                                                                                                                                                                                                      1%.

                                             -                                                                                                                 -.-                                                                                                                                                                                                                   H-’
ID                                 •-                            •••                                                                                                                                                                                                                                              •.•
                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                               ----.---;•---
                                                                                                                                                                                                                                                                                                                                                                                                            Case: 5:13-cv-00005-DLB Doc #: 1-1 Filed: 01/04/13 Page: 9 of 9 - Page ID#: 13




CD                                               -                                                -            -                                                                                                   -----
              -                                                                                                                                                                                                                                                                                          -•--
                                                                                                                                                                                                                                           -               -                    -        -
                          Prepared By: Wilma Lynch/mjm -                                                                                                                                                                                                                                                 •...                             -:
                          **
                             MCFO=Moncy Collected for Others                                                                                                               ,

          -           .


                                                                                                                                                                                                                                                                    .
                                   CS=Charge for Services                                                                                                                  .

                                                                                                      --                                               -                            .                          -           -
                          Fling (IYCQURTS)                                                                                                                                                                                     -                       Page 1 0(1                                                                         --
